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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

 VICTORIA’S PLATINUM PROPERTIES,              §
 LLC                                          §
                                              §
       Plaintiff,                             §
                                              §
 v.                                           §            Civil Action No. 6:19-cv-00007
                                              §
 CERTAIN UNDERWRITER’S AT                     §
 LLOYD’S LONDON and VEARL                     §
 WOLVERTON                                    §
                                              §
       Defendants                             §

                                JOINT STATUS REPORT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Plaintiff, VICTORIA’S PLATINUM PROPERTIES, LLC., and

Defendants, CERTAIN UNDERWRITERS SUBSCRIBING TO POLICY NUMBER

BCL00092 and VEARL WOLVERTON (hereinafter collectively referred to as “the Parties”),

in the above entitled and numbered cause, and pursuant to the Court’s Oral Order of May

19, 2022, file this Joint Status Report and would respectfully show unto this Honorable Court

as follows:

                                          I.
                                     BACKGROUND

       1.     This lawsuit arises out of a dispute over an insurance claim made by

Plaintiff, Victoria’s Platinum Properties, LLC, (“Plaintiff”) for damages allegedly caused by

Hurricane Harvey. More specifically, Certain Underwriters at Lloyd’s, London Subscribing

to Policy No. BCL00092 (“Underwriters”) issued a Commercial Property Policy to Victoria

Platinum Properties LLC; Platinum Home Investments LLC; and Kimberlite Homes, LLC.
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Policy No. BCL00092 provided Lessors Risk coverage pursuant to certain terms and

conditions for sixty-one (61) premises from October 21, 2016 to October 21, 2017 (“the

Policy”).        After Harvey, Plaintiff made claims on fifty-one (51) of the sixty-one (61)

premises insured under the Policy.

            2.      On December 13, 2018, Plaintiff filed suit in Texas state court against

Underwriters and independent adjuster, Vearl Wolverton. Plaintiff alleged causes of

action for breach of contract, unfair settlement practices in violation of section 541 and

failure to promptly pay claims in violation of section 542 of the Texas Insurance Code,

violations of the Texas Deceptive Trade Practices Act, and breach of the duty of good

faith and fair dealing against Underwriters. Underwriters then removed the lawsuit to

federal court on the basis of diversity and amount in controversy.

       3.           The Parties exchanged written discovery and mediated the case on January

27, 2020. Although the mediation was unsuccessful, the Parties thereafter agreed to

enter into the appraisal process for approximately 40 of the premises at issue.

       4.           This matter was abated by the Court on July 8, 2021, to allow the Parties

time to complete the appraisal process. The appraisal process was completed on or

about February 23, 2022.

                                              II.
                                        STATUS REPORT

       5.           The Parties mediated this matter on June 17, 2022 with mediator Donald R.

Philbin. Mediation successfully resolved all issues between the Parties. The Parties are

in the process of finalizing the settlement, and anticipate being able to file dismissal

papers with the Court within the next 30 days.




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                                             II.
                                           PRAYER
       WHEREFORE, PREMISES CONSIDERED, Plaintiff and Defendants pray that this

Court accept the Joint Status Report, retain this matter on the docket, and other and

further relief, both at law and in equity, to which they are justly entitled.

                                            Respectfully submitted,


                                            HOLLAND & ZIMMERMAN, PLLC

                                            By:/s/ Wes Holland (with permission)
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                                            VICTORIA’S PLATINUM PROPERTIES, LLC.




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                               DONATO BROWN POOL & MOEHLMANN

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                               ATTORNEY FOR DEFENDANTS
                               CERTAIN UNDERWRITERS AT LLOYD’S,
                               LONDON SUBSCRIBING TO POLICY NO.
                               BCL00092 AND VEARL WOLVERTON




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                             CERTIFICATE OF SERVICE

      I hereby certify that, on the 14th day of July 2022, a true and correct copy of the
above and foregoing has been served by:

         certified mail, return receipt requested; overnight delivery;
      hand delivery;        United States first class mail;     facsimile
      transmission; electronic transmission on the following counsel:

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                                         /s/ Robbie A. Moehlmann
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